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                                                         U.S. Department of Justice

                                                         United States Attorney
                                                         Southern District of New York
                                                         The S1lv10 J Mollo Building              '.
                                                         One Saint Andrew's Plaza
                                                         New York, New York 10007

                                                         April 11,2019

    Via ECF
    The Honorable Jed S. Rakoff                                                        USDCSDNY
    United States District Judge
    Southern District of New York                                                      DOCUMENT
    500 Pearl Street                                                                   ELECTRONICALLY FILED
    New York, NY 10007                                                             I   DOC #:_--1---/-4~fT1-:---

                   Re:     United States v. Cesar Altieri Sayoc,
                                                                                   l~xrn FILED:
                           18 Cr. 820 (JSR)

    Dear Judge Rakoff:

                   The Government respectfully submits this letter in response to the Court's April 5,
    2019 order. Based on the content of the defendant's two post-plea submissions to the Court, the
    Government respectfully submits that his guilty plea should be vacated. The defendant's claims
    regarding current counsel also give rise to potential conflicts of interest that should be evaluated
    pursuant to the procedures set forth in Curcio,_including giving the defendant an opportunity to
    consult with new counsel regarding whether he wishes to waive the potential conflicts and proceed
    with current counsel. In the absence of a knowing and voluntary waiver of all potential conflicts,
    new counsel should be appointed to represent the defendant. The Government will submit
    proposed questions related to the requested Curcio proceeding if helpful to the Court.

                                                            Respectfully submitted,

                                                            GEOFFREY S. BERMAN
                                                            United States Attorney
                                                            Southern District of New York

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    Cc:     Defense Counsel
            (Via ECF)
